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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


Carol A. Wilson, et al.,                        )    Case No.: 2:16-cv-1084
                                                )
       Plaintiffs,                              )    Chief Judge Edmund A. Sargus
                                                )
vs.                                             )    Magistrate Judge Kimberly A. Jolson
                                                )
Chagrin Valley Steel Erectors, Inc.,            )
                                                )
       Defendant/Third-Party Plaintiff,         )
                                                )
vs.                                             )
                                                )
Justin M. Helmick,                              )
                                                )
       Third-Party Defendant.                   )

  CAROL WILSON, ET AL.’S REPLY TO DEFENDANT/THIRD PARTY PLAINTIFF
    CHAGRIN VALLEY STEEL ERECTORS, INC.’S BRIEF IN OPPOSITION TO
     PARTIAL MOTION TO DISMISS COUNTS ONE AND TWO OF CHAGRIN
   VALLEY’S SECOND AMENDED COUNTERCLAIM AND SECOND AMENDED
                       THIRD-PARTY COMPLAINT


       Chagrin Valley Steel Erectors, Inc.’s (“Chagrin Valley’s) Response in Opposition to the

Plaintiffs’ (or “Funds’) Motion to Dismiss Counts One and Two of the Second Amended

Counterclaim and Second Amended Third-Party Complaint makes clear that it failed to state a

claim for breach of contract because the Funds are not party to the collective bargaining

agreement upon which Chagrin Valley’s claim relies. Moreover, to the extent Chagrin Valley is

referring to breach of contract of the plan documents and trust agreements that are the genesis for

the Funds’ fiduciary obligation to manage the assets of the various benefits plans, Counts One

and Two are expressly preempted by ERISA.
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       I.      THE FUNDS ARE NOT A PARTY TO THE COLLECTIVE BARGAINING
               AGREEMENT

       Chagrin Valley’s breach of contract claim against the Funds fails as a matter of law

because Chagrin Valley and the Funds are not in privity of contract under the collective

bargaining agreement. Chagrin Valley’s Second Amended Counterclaim and Second Amended

Third-Party Complaint states that Chagrin Valley executed a Construction Employers

Association Agreement on or about April 23, 2012; a Short Form Building Construction

Agreement on or about June 20, 2012; and a 2000 Hour Addendum Agreement on or about

March 31, 2014. Second Amended Counterclaim & Second Amended Third-Party Compl., ¶3,

ECF No. 26-1. Chagrin Valley refers to these agreements throughout its Response in Opposition

as the “Participation Agreements.” See, e.g., Response in Opp. at 2 (referring to these three

agreements collectively as the “Participation Agreements”). Chagrin Valley also attached the

signatory pages to these Participation Agreements as Exhibit A to its Second Amended

Counterclaim and Second Amended Third-Party Complaint.

       Under Ohio law, the elements for a breach of contract claim are the existence of a valid

contract between the parties, performance by the plaintiff, a breach by the defendant, and

resulting damages. See, e.g., Pavlovich v. National City Bank, 435 F.3d 560, 565 (6th Cir. 2006)

(citing Wauseon Plaza Ltd. P’ship v. Wauseon Hardware Co., 807 N.E.2d 953, 957 (Ohio Ct.

App. 2004)). Chagrin Valley asserts that the Funds owe a contractual obligation to Chagrin

Valley under the Participation Agreements. Response in Opp. at 5, ECF No. 32 (“[T]he

Counterclaim alleges that the Trusts breached the terms of the various Participation Agreements

that were signed by Chagrin Valley, namely [the Participation Agreements].”). In their Motion

to Dismiss, the Funds noted that they are not a party to the Participation Agreements. Motion to

Dismiss at 7, ECF No. 30 (“As an initial matter, the Court must note that the Funds are not




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parties to the collective bargaining agreements. They are third-party beneficiaries to these

agreements.”). Inexplicably, however, Chagrin Valley continues to contend that the Funds

breached a contractual obligation owed to Chagrin Valley under these very same agreements.

The Funds are not a party to these Participation Agreements, and Chagrin Valley has therefore

failed to adequately plead the elements of a breach of contract claim as a matter of law.

       The Participation Agreements are agreements between Chagrin Valley, as an employer,

and the International Union of Operating Engineers, Locals Nos. 18, 18A and 18B (the “Union”).

All three signatory pages of the Participation Agreements set forth that any contractual

obligations are owed by these two parties. The Interim Construction Employers Association

Agreement states that “[Chagrin Valley] does hereby agree to adopt, accept and become

signatory to the CEA Building collective bargaining agreement between the Construction

Employers Association and the International Union of Operating Engineers, Local 18 and its

Branches, AFL-CIO” and goes on to state that Chagrin Valley “recognizes the International

Union of Operating Engineers, Local 18 as the exclusive bargaining agent of all its employees.”

Second Amended Counterclaim & Second Amended Third-Party Compl., Ex. A p.1, ECF No.

26-1. This Participation Agreement is signed by Chagrin Valley and by a representative of the

Union. Id. The Short Form Building Construction Agreement similarly establishes that the

agreement is between Chagrin Valley and the Union. Second Amended Counterclaim & Second

Amended Third-Party Compl., Ex. A p.2, ECF No. 26-1 (“This Agreement entered into this 20th

day of June, 2012 by and between Chagrin Valley Steel Erectors, Inc., hereafter called the

“Company” . . . and the International Union of Operating Engineers, Local 18 and its Branches,

AFL-CIO, hereinafter called the “Union.”). This Participation Agreement is similarly signed by

both Chagrin Valley and a representative of the Union. Finally, the 2000 Hour Addendum




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Agreement states that the “International Union of Operating Engineers, Local 18 and Chagrin

Valley Steel Erectors, Inc. (hereinafter Employers) therefore agree as follows.” Second

Amended Counterclaim & Second Amended Third-Party Compl., Ex. A p.3, ECF No. 26-1.1

         Chagrin Valley states in its Response in Opposition that “the Counterclaim alleges that

the Trusts breached the terms of the various Participation Agreements that were signed by

Chagrin Valley.” The Funds stated in their Motion to Dismiss that they are not parties to the

Participation Agreements and assumed that Chagrin Valley was referring to the Funds’ role as

administrator and fiduciaries of the trusts and employee benefit plans that create any potential

contractual obligation in this case. See, e.g., Operating Eng’rs Local 324 Health Care Plan v.

G&W Constr. Co., 783 F.3d 1045, 1050 (6th Cir. 2015) (“When collective-bargaining

agreements create pension of welfare benefits plans, those plans are subject to rules established

in ERISA. . . . Written agreements must specify the basis on which payments are made to and

from the plan, and the plan administrator is obliged to act in accordance with the documents and

instruments governing the plan insofar as such documents and instruments are consistent with

ERISA.” (citations omitted)). If Chagrin Valley is referring to a contractual duty owed under the

Participation Agreements, it is very clear that the Funds are not parties to those agreements.

Thus, Chagrin Valley failed to state a claim for breach of contract.




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 Sixth Circuit jurisprudence clearly recognizes that the Funds are not a party to the Participation Agreements
between Chagrin Valley and the Union. In fact, the Sixth Circuit will not permit a signatory employer to raise the
conduct of the union as a defense to owing contributions to multi-employer trust funds under ERISA §515. G&W
Constr. Co., 783 F.3d at 1053 (“[Multi-employer trust funds are entitled to rely on an employer’s promises to make
contributions to the funds, irrespective of any breach or omission by the union. This is because the funds often are
not in a position to know what is going on between the employer and the union.” (citations omitted)).



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       II.     ANY DUTY OWED BY THE FUNDS TO CHAGRIN VALLEY IS
               IMPOSED BY ERISA AND THUS CHAGRIN VALLEY’S CLAIMS ARE
               PREEMPTED BY ERISA

       Chagrin Valley failed to establish the existence of a contract and thus Count One fails as

a matter of law. However, even if a contractual relationship did exist, a state law action for

breach of contract would be preempted by ERISA. Both Counts One and Two are therefore

preempted by ERISA and fail as a matter of law.

       When it enacted ERISA, Congress included a broadly worded preemption provision, 29

U.S.C. § 1144(a), to ensure that the federal administrative scheme of ERISA was not affected by

state laws or state causes of action. See Aetna Health, Inc. v. Davila, 542 U.S. 200, 208 (2004).

The expansive nature of section 1144(a) is reflected in its language, which states that “[t]he

provisions of this subchapter and subchapter III of this chapter shall supersede any and all State

laws insofar as they may now or hereafter relate to any employee benefit plan[.]” 29 U.S.C. §

1144(a) (emphasis added).

       Courts have provided clear guidance on the application of ERISA’s express preemption

provision. See Egelhoff v. Egelhoff, 532 U.S. 141, 146-147 (2001). The statutory language

“relate to any employee benefit plan” is given “broad meaning such that a state law cause of

action is preempted if ‘it has connection with or reference to that plan.’” Cromwell v. Equicor-

Equitable, 944 F.2d 1272, 1275 (6th Cir. 1991), citing Metropolitan Life Ins. Co. v.

Massachusetts, 471 U.S. 724, 730, 732-33 (1985) and Shaw v. Delta Airlines, Inc., 463 U.S. 85

(1983). “Moreover, to underscore its intent that § [1144(a)] be expansively applied, Congress

used equally broad language in defining ‘State law’ that would be pre-empted. Such laws

include ‘all laws, decisions, rules, regulations, or other State action having the effect of law.’”

Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 138-139 (1990). As a result, the Sixth Circuit




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has recognized that “virtually all state law claims relating to an employee benefit plan are

preempted by ERISA.” Marks v. Newcourt Credit Group, Inc., 342 F.3d 444, 452 (6th Cir.

2003), citing Cromwell, 944 F.2d at 1276.

       In deciding whether state law claims are preempted by ERISA, the Sixth Circuit focuses

on the remedy sought by plaintiffs. See Marks, 342 F.3d at 453; Cromwell, 944 F.2d at 1276;

Ramsey v. Formica Corp., 398 F.3d 421, 424 (6th Cir. 2005) (considering relief sought and its

relation to plan).   When the plaintiff asserts a state law claim seeking recovery of an ERISA

plan benefit or asserts a state law claim that would be an end run around ERISA’s enforcement

mechanism, then the claim is preempted by ERISA and subject to dismissal. See, e.g., Hardy v.

Midland Enterprises, 66 Fed. App’x. 535, 539 (6th Cir. 2003) (preempting state law claims of

estoppel, breach of contract and misrepresentation as remedies not permitted under ERISA).

       Count One alleges that the Funds breached the terms of the collective bargaining

agreements by failing to properly perform a number of administrative functions (e.g., properly

computing contributions owed; properly auditing the plans; properly communicating the results

of the audit). As previously stated, the Funds are not parties to the Participation Agreements, nor

does those Agreements impose any such duty upon the Funds. The Funds are simply third-party

beneficiaries of these agreements. The source of the Funds’ obligations to collect contributions

derives from the fiduciary duty imposed by ERISA and other documents regarding the employee

benefit plans and not by the Participation Agreements.

       In its Response in Opposition Chagrin Valley asserts that Count One is only “tenuously”

related to a claim under ERISA. Response in Opp. at 6, ECF No. 32. This assertion is patently

false. The basis underlying Chagrin Valley’s counterclaim has to do with how the Funds audited

and collected contributions owed by employers. The management of assets of an employee




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benefit plan is clearly a fiduciary obligation under ERISA. “Any person or entity that exercises

certain types of discretionary control over an ERISA fund’s assets owed a fiduciary duty to the

beneficiaries of that fund.”   Briscoe v. Fine, 444 F.3d 478, 494 (6th Cir. 2006); see also 29

U.S.C. § 1002(21)(A). Thus, the Funds management of determining what money is owed and

collecting that money is clearly a fiduciary action under ERISA. “[W]here the plaintiff’s claim

is not a separate legal duty independent of ERISA, but is instead just a restatement of the ERISA

violation in terms of [a state common law claim], ERISA preempts the claim.” Briscoe, 444

F.3d at 499 (citing Davila, 542 U.S. at 214). Chagrin Valley’s counterclaim is thus more than

just tenuously related to an ERISA claim; rather, it is merely restatement of a claim for breach of

fiduciary duty under the guise of a common law breach of contract claim.

       Count Two essentially restates Count One and asks the Court to determine whether

Chagrin Valley owes money under the Participation Agreements. Once again, the basis for this

claim has to do with the Funds’ fiduciary duties in collecting money owed to the Funds. “Claims

for breaches of contract and fiduciary duties under a plan necessarily relate to the ERISA benefit

plan.” Girl Scouts of Middle Tenn., Inc. v. Girl Scouts of the USA, 770 F.3d 414, 419 (6th Cir.

2014) (“ERISA specifically provides for remedies for breaches of contract and fiduciary duties,

so any state law claim that granted relief for these breaches would duplicate, supplement, or

supplant the ERISA civil remedies.”); see also Blakeman v. Mead Containers, 779 F.2d 1146,

1151 (6th Cir. 1985) (“It is clear that common law causes of action for breach of contract are

preempted by ERISA.”). Further, to the extent a plaintiff’s claim challenges the administration

of an ERISA employee benefit plan, that claim is also preempted by ERISA. See, e.g., Turner v.

Retirement Plan of Marathon Oil Co., 659 F. Supp. 534, 541 (N.D. Ohio 1987) (holding that




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fiduciary’s failure to properly communicate plan features are “clearly part and parcel of

administering the plan” and therefore preempted by ERISA).

       Further, Count Two is expressly preempted by ERISA § 515. Section 515 of ERISA

provides that every employer who is obligated to make contributions to a multi-employer

employee benefit plan under the terms of the plan or collective bargaining agreement, “shall, to

the extent not inconsistent with law, make such contributions in accordance with the terms and

conditions of such plan or such agreement.” 29 U.S.C. § 1145. Pursuant to section 502(g), a

trustee of a plan may bring an action in federal district court to enforce those obligations. 29

U.S.C. § 1132(g). “The requirement of §515 is mandatory and unconditional.” In re Michigan

Carpenters Council Health & Welfare Fund, 933 F.2d 376, 382 (6th Cir. 1991) (finding that a

Michigan state law was expressly preempted by ERISA §515 because the application of that law

would have a “substantial ongoing effect on the administration of the employee benefit plan”).

To the extent Chagrin Valley is asking the Court to alter its obligations or to alter the Funds’

administration of the ERISA plans, such a claim is expressly preempted by ERISA §515.

   III.    CONCLUSION


       For the foregoing reasons, Counts One and Two of Chagrin Valley’s Second Amended

Counterclaim and Second Amended Third-Party Complaint against Carol Wilson and the

Trustees of the Funds should be dismissed with prejudice.




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                                     Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 29, 2017, I electronically filed the foregoing Reply to

Defendant/Third Party Plaintiff Chagrin Valley Steel Erectors, Inc.’s Brief in Opposition to

Plaintiffs’ Partial Motion to Dismiss with the Clerk of Court using the EM/ECF system, which

will send notification of such filing to the following:


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